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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
                v.                            :      CASE NO. 21-CR-127 (ABJ)
                                              :
JOSHUA BLACK,                                 :
                                              :
                Defendant.                    :


                     GOVERNMENT’S SENTENCING MEMORANDUM

         The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this sentencing memorandum in connection with

the above-captioned matter. For the reasons set forth herein, the government requests that this

Court sentence defendant Joshua Black to 60 months of incarceration, three years of supervised

release, $2,000 in restitution, a fine equivalent to the crowdfunding proceeds he received from his

appearance on a podcast that sympathized with January 6 defendants, and the mandatory special

assessment for his five counts of conviction totaling $320.

    I.      INTRODUCTION

         Black, who was found guilty of three felonies and two misdemeanors following a bench

trial in January 2023, participated in the January 6, 2021, attack on the United States Capitol—a

violent attack that forced an interruption of the certification of the 2020 Electoral College vote

count, threatened the peaceful transfer of power after the 2020 Presidential election, injured over

100 law-enforcement officers, and resulted in over $2.8 million in losses. 1



1
  As of October 17, 2022, the approximate losses suffered as a result of the siege at the was
$2,881,360.20. That amount reflects, among other things, damage to the Capitol building and
grounds and certain costs borne by the United States Capitol Police.
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       As established during the trial, Black—who was armed with a concealed knife—was the

first rioter to breach the barricade at the Capitol’s Lower West Terrace at approximately 12:57

p.m. on January 6. He positioned himself at the front of the large, unruly crowd gathered at the

West Plaza, and was shot in the face with a crowd-control munition at 1:07 p.m. Despite suffering

a gaping wound from the shot and witnessing numerous assaults on police officers, he remained

on the Capitol grounds and made his way to the east side of the building.

       Black also participated in the violent breach of the East Rotunda Doors, where he joined a

heave-ho maneuver that pushed into a thin line of officers who desperately defended that entryway.

Within two minutes of rioters prying the Rotunda Doors open, Black forced his way over the

threshold at 2:40 p.m. and squeezed between two officers who could no longer prevent rioters from

cascading inside.

       Inside the Capitol, Black came upon two other officers who had just been attacked and

defiantly shouted at them as they retreated, “We will not stand down.” Then he breached the

hallowed Senate Chamber, where he remained for over 20 minutes. There, he rifled through

Senators’ papers; took a photo of a document related to an objection to the certification of

Arizona’s Electoral College vote count; posed for photos on the Senate dais; sprawled himself on

the floor talking on his cellphone; disregarded a police officer’s requests for him and the other

rioters to leave; and joined a disorderly spectacle styled as a prayer. He did not leave the Chamber

until police officers from the Metropolitan Police Department (“MPD”) finally amassed the

resources to drive him and others out and, ignoring many entreaties throughout the day to disburse,

did not leave the Capitol grounds until nightfall. During and after January 6, he made statements

advocating for “independence” and abolishing the government.

       As explained herein, a 60-month sentence, in the lower third of the applicable Sentencing



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Guidelines range, would reflect the gravity of Black’s conduct for which he has never accepted

full responsibility.


    II.        FACTUAL BACKGROUND

          A.      The January 6, 2021, Attack on the Capitol

          The government refers the Court to the Statement of Offense filed in this case (ECF 6 at 4-

6) for a short summary of the January 6, 2021, attack on the United States Capitol by hundreds of

rioters, in an effort to disrupt the peaceful transfer of power after the November 3, 2020,

Presidential election.

          B.      Black’s Role in the January 6, 2021, Attack on the Capitol

          As established at trial, Black traveled from Leeds, Alabama, to attend the “Stop the Steal”

rally the former President held in Washington, D.C, on January 6, 2021. He brought a knife with

a blade over 3 inches long with him because, as he would later admit, he believed he could not

carry a gun in Washington and he did not like being “defenseless.” While at the rally, he heard

one individual say, “They’re storming the Capitol after the speech.” After that and before Donald

Trump’s speech ended, he decided to walk to the Capitol. (Trial Exs. 1.C.1, 101.II.)

               1. On the West Front, Black was the first to breach the Lower West Terrace barricade,
                  and got shot with a crowd-control munition, which further roiled the violent mob.

          The first breach of the Capitol grounds occurred at 12:54 p.m., when rioters overran a

police barricade at the Peace Circle, located at the northwest sector of the grounds. Black

proceeded beyond where the Peace Circle barricade was breached and approached the north side

of another police barricade in front of the Capitol’s Lower West Terrace.            Police officers

attempted to keep rioters behind the barricade and prevent them from advancing farther toward the

Capitol. (Trial Exs. 400, 402.A.1, 601, 602.)



                                                   3
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       At 12:57 p.m., Black tugged on the barricade, stepped over it, and walked toward the

building. Of the thousands of people who would converge on the Capitol’s West Plaza on January

6, Black (wearing a red ball cap, green hooded camouflage outfit, and yellow gloves) was the first

to breach the Lower West Terrace barricade, as depicted in the following two photos (Black

outlined and circled in yellow):




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United States Capitol Police (“USCP”) Officer Wayne Gibson and another USCP officer

intercepted Black and forced him back toward the barricade. Within one minute of Black’s

breach, other rioters followed his lead and completely overran the Lower West Terrace. (Trial

Exs. 401.A, 402.A.1, 602.A).

       Black walked to the south end of the Lower West Terrace and positioned himself at the

front of the large crowd on the West Plaza and face-to-face with police officers who had formed

another defensive line. At one point, rioters pushed into the police line where Black stood.

Despite the crowd’s unruliness, Black did not leave that area, and he made physical contact with

the officers as the rioters pushed him and themselves into the line, as depicted below (boxed in

yellow wearing a green-camouflage hood and red hat):




(Trial Exs. 417, 417.B.)

       Officers deployed less-than-lethal munitions to control the growing and increasingly

violent mob on the West Plaza. Black was struck in the left cheek by a munition, causing a gaping

wound and copious bleeding, depicted below (Black had removed his red hat and hood and donned

a black knit cap and sunglasses at that point, but later put the red ball cap back on):


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(Trial Ex. 605.)

        Rioters near Black became enraged that he was shot, and they harassed and assaulted

officers.    A melee ensued, and an officer fell to the ground. Black knelt beside the officer and

yelled, “Don’t hurt him.” Another officer pushed Black away and rescued the officer on the

ground.      Less than two minutes after this incident, Black proclaimed to an individual

videorecording the events, “We the people of the United States of America declare our

independence. Blood, sweat, and tears. Praise the name of Jesus. This is the land of the Lord.

God brought us here. God gave us freedom.”

        Despite observing numerous other assaults on officers and verbal confrontations by the

mob around him, Black remained on the grounds. As Black later admitted, at one point, when

officers offered him aid, Black refused their help because, “I’m with them [. . .] I’m a patriot,”

referring to the other rioters. He later accepted the assistance of officers who took him behind

their line to render aid for his wound. At another point, Black saw a long wooden beam pushed

into the police line. During his time on the West Plaza, the mob loudly chanted numerous times


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“Stop the Steal” in earshot of Black. (Trial Exs. 1.BB, 607, 611.)

            2. On the East Front, Black joined a heave-ho against officers and breached the
               Capitol building.

        Black later moved to the Capitol’s East Front and participated in the violent breach of the

East Rotunda Doors. For several minutes, Black was among a larger group of rioters that

screamed at, pushed, grabbed, threw objects at, sprayed chemical irritants at, and wrested a riot

shield from a thin line of just five or six remaining USCP officers defending that entryway. USCP

Officer Marc Carrion testified that the scene was “very apocalyptic, [. . .] all five of our senses

were overwhelmed all at once.” At one point, Black joined several rioters in a heave-ho maneuver

designed to breach the Doors, as depicted below (Black outlined in yellow, officers in doorway

circled in blue):




(Trial Exs. 703.A, 707; 1/9/2023 Trial Tr. at 193-94.)

        Black advanced to the doorway, where he came face-to-face with Officer Carrion, who was

cornered. Officer Carrion remembered Black was “basically moving forward” to the doors and

“trying to avoid eye contact.” He did not recall any verbal interaction with Black, but Black later

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claimed he told Officer Carrion, “Hey, man, we don’t want to hurt you. [. . .] I appreciate your

service. But [. . .] we’ve got to show these politicians that we mean business. [. . .] We’re [. . .]

tired of getting lied to. We’re tired of ya’ll getting filthy rich off our backs, you know?”

(1/9/2023 Trial Tr. at 192; Trial Ex. 1.E.1.)

       Rioters eventually breached the Rotunda Doors.         Black crossed the threshold of the

Capitol at 2:40 p.m., forcing his way through and making physical contact with Officer Carrion

and another USCP officer who could no longer prevent the rioters from flooding into that

entryway, as depicted below:




(Trial Ex. 706.)

           3. Once inside the Capitol, Black voiced his intentions—“We will not stand down”—
              and occupied the Senate Chamber, and he did not leave the Capitol grounds till
              nightfall.

       Black roamed corridors in the Capitol’s Senate Wing. In the hallway outside the Senate

Gallery, he encountered two plainclothes USCP officers who had just been assaulted by other

rioters. The officers retreated down the East Gallery Staircase. Black followed the officers to


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the top of the Staircase, and twice shouted down at them, “We will not stand down.” Soon after,

he walked down the Staircase and appeared to look for the officers. He eventually found a glass

door leading to the Senate Chamber, beside another stairwell where a United States Senator had

been evacuated by USCP officers less than three-and-a-half minutes before. He tried to open the

door, but it was locked. He later recalled that he considered breaking the glass but decided not to

because “this [is] our house. [. . .] [W]e don’t act like that. [. . .] I was tempted to, I ain’t gonna

lie. [. . .] [‘C]ause I’m, I’m pretty upset. [. . .] They stole my country.” Eventually, other rioters

found a way into the Chamber. Black joined them, entered the Senate Floor at 2:48 p.m., and

remained inside the Chamber for over 20 minutes. (Trial Exs. 1.H.1, 410, 411, 508, 800, 801.)

       When Black entered the Senate Chamber, personal effects, papers, water bottles, and open

laptops remained on desks, evidence that the rioters had caused the Senators to abruptly abandon

the certification proceeding and flee.   As depicted in the photo below, for an initial minute or so,

he stood by an individual, Larry Brock (on the right), who was wearing military gear and carrying

plastic flex-cuffs while also admonishing others not to engage in certain conduct because they

were waging “an I.O. war” and an “information operation”:




                                                  9
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Black joined Brock’s admonitions to other rioters. (Trial Ex. 802.)

       While on the Senate Floor, Black attempted to access a laptop that was abandoned on

Senate staff’s desk.   He (circled in yellow) and other rioters also rifled through papers in the desk

assigned to Sen. Ted Cruz, as depicted below:




(Trial Ex. 508.) Black seized one of the documents—Sen. Cruz and Rep. Paul Gosar’s objection

to the certification of the Electoral College count vote for the State of Arizona—and photographed

it:




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(Trial Ex. 300.)

       Black also posed for photos on the Senate dais and splayed himself out on the floor of the

Chamber, resting his back against the clerks’ area of the dais and talking on his cellphone:




(Trial Exs. 301, 802.) He later emotionally recounted that he called his father and told him, “I’m

pleading the blood of Jesus on the Senate floor.” (Trial Ex. 2.AAA.)

       A lone USCP officer, Keith Robishaw, entered the Senate Chamber at 3:00 p.m., after

Black and the other rioters had occupied the space for over 11 minutes entirely on their own.

Officer Robishaw found himself facing off against 20 or more rioters on the Senate Floor as he

entered—with no way of knowing who was armed—and asked Black and other rioters to leave the

Senate Chamber at least twice, pleading with them that the Senate dais where they were

congregating was the “sacredest place.” This was the first time Officer Robishaw had ever been

on the Senate Floor; not even he, a police officer assigned to the USCP’s House Division, was

allowed to enter the Senate Floor. (1/10/2023 Trial Tr. at 373, 379-80; 1/13/2023 Verdict Tr. at

12.) But Black did not get up from the floor. (Trial Ex. 802.) Eventually, Black (circled in


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yellow) arose to participate in a raucous demonstration styled as a prayer at the Senate dais led by

another rioter, Jacob Chansley (also known as the “QAnon Shaman”):




       Immediately following this spectacle, Chansley—who had carried a makeshift spear into

the Chamber and whom Black later characterized as a “psychopath”—encouraged others to give a

“shout out” and a “Hoo-ah” for Black (circled in yellow), referring to him as “a fucking champ.”

(Trial Exs. 100.EE, 510.) Black did not leave the Senate Chamber until a column of several MPD

officers forced rioters out at 3:09 p.m. He exited the Capitol at the Senate Carriage Door at 3:10

p.m. (Trial Exs. 408, 415, 508.)

       Sometime after exiting the building, and while still on the Capitol grounds, Black was

interviewed by a videographer and stated:

       The heart of the king is in the hand of the Lord. He turns it whithersoever He will.
       [. . .] Federal taxes? Pay ‘em if you want to. But, you know what I’m saying?
       A well-regulated militia’s a good idea right now. I’m not a violent guy. Like, I
       don’t like violence at all. But, I mean, we can’t put up with this, man. Like, this
       ain’t – you know? But if Biden becomes president – goodbye, America.

(Trial Ex. 614.)

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       Based on evidence not presented during the trial, the government learned that after Black

exited the Capitol at 3:10 p.m., he did not leave the Capitol grounds until nightfall. As USCP

Officer “M.W.” later reported to the FBI, he encountered Black earlier in the day on the West

Plaza. 2 Black told other rioters “to lay off the officers” and that the officers were “just doing their

jobs.” This appeared to have a calming effect on some rioters in that area for a short time.

Officer M.W. allowed Black to go behind the police line to receive some medical aid. Officer

M.W. saw Black again when it “was dark out,” after USCP officers had engaged in an hours-long,

violent struggle at the West Terrace Door, also known as the “Tunnel.” After finally pushing all

the rioters out of the Tunnel and clearing much of the Lower West Terrace, Officer M.W. and

other officers were in the process of re-forming a police line when Black called out to him. Black

smiled and told Officer M.W. that he had made it inside the Capitol.

       C.      Black’s Statements after January 6, 2021

       Following January 6, Black admitted participating in the riot in a testimonial he posted to

YouTube on January 8, 2021. Among other statements about his conduct, he professed his belief

that the 2020 Presidential election and his country had been “stolen”; claimed he wanted to get

inside the Capitol to “plead the blood of Jesus over it”; and admitted he was carrying the knife

when he entered the building. He also described his intentions and motivations for entering the

Capitol:

               Once we found out that Pence turned on us and that they had stolen the
       election, like officially, the [. . .] crowd went crazy. I mean, [. . .] it became a mob.
       We crossed the gate, we got up. 3

2
  The FBI Form FD-302 memorializing this interview was provided to the defense on November
28, 2022, and is attached to this memorandum as Attachment A (redacted).
3
  Evidence at trial established that Vice President Pence issued a public statement at 1:02 p.m. on
January 6, 2021, announcing that he was about to preside over a Joint Session of Congress to count
the Electoral College votes and that he had concluded he did not have the authority to reject
electoral votes. (1/11/2023 Trial Tr. at 408-09.) The notion that Vice President Pence would

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                                             * * *
                 I make it around to the other side of the building. [. . .] [A]nd I was sitting
        there thinking, “Why is everybody just sitting on the steps?” I thought that the
        goal was to show the politicians that [. . .] the people run this country. That’s the
        way it’s supposed to be.
                                             * * *
                 So I walked up to the top and next thing I know I’m at the door. I don’t
        know how I got there, but I was at the door. And, uh, people were – people were
        just, it was – it, it, it became a – it was a mob-rule situation. You know what I’m
        saying? It was – the patriots were pissed.
                                             * * *
                 This was just the we the people standing up to obey the Constitution and
        abolish a [. . .] corrupt government. [. . .] [I]t’s a crooked Democrat House. [. . .]
        Crooked Republicans too.            And a crooked Democrat Senate.            Crooked
        Republicans too. And now there’s a straight up crooked, lying, cheating [. . .]
        president. And I ain’t even gonna say[] nothing about Kamala Harris.

(Trial Exs. 1.A.1, 1.DD, 2.A.1.)

        Besides posting his testimonial to YouTube on January 8, Black made his YouTube profile

photo this picture, which displayed his wound from January 6:




(Trial Ex. 5.)

        Black’s cellphone records, which were not presented at trial, reveal that on January 8, 2021,



betray Trump supporters by not resolving the counting of electoral votes in Trump’s favor was
established by Trump in multiple statements he made during a rally in Dalton, Georgia, two days
before, which Black attended. The Dalton rally is discussed, infra.

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after Black posted his video testimonial to YouTube, he sent links to the video to at least one

friend, “D.C.” After D.C. received the links, he texted Black, “If you don’t mind, don’t mention

me.” Black replied, “I referred to you as a fellow patriot.”

       Black also participated in two voluntary interviews with the Federal Bureau of

Investigation (“FBI”) on January 8 and 14, 2021. During the interviews, Black admitted he was

wearing a knife on his hip when he was inside the Senate Chamber. (Trial Ex. 101.C.1.) He also

recounted his reaction to a police officer at the Rotunda Doors who said he was “just doing [his]

job” and that he “swore an oath”:

       And I was like, “Yeah, to defend the Constitution and that [. . .] ain’t what you’re
       doing right now. You’re defending a bunch of crooked politicians,” you know?
       Which I’m glad they got them outta there, because if the mob had a got ahold of
       them, it would’ve been -- it would not have been good. ‘Cause America is pissed
       off at our elected officials. You can’t trust them no more. They’re -- they’re a
       bunch of dirt bags, you know?

(Trial Ex. 100.F.1.) Black also voiced his and what he perceived to be others’ anger at the election

results: “America is mad. The ones that are paying attention. [. . .] It’s gonna have to be the

Lord. ‘Cause the only thing that can happen now is a, an armed revolution. And I just don’t wanna

see that, you know?” (Trial Ex. 100.G.1.)

       During a voluntary search of his residence in Alabama on January 14, the FBI recovered

the clothing and knife Black admitted he wore inside the Capitol. The FBI arrested him later that

day. (1/9/2023 Trial Tr. at 121, 129.)

       While the defense’s opening statement characterized Black as possessing limited education

and no sophisticated knowledge about the political system (1/9/2023 Trial Tr. at 14), the

government is aware of additional evidence, not presented at trial, that Black was politically

engaged and savvy.

       In his two interviews with the FBI on January 8 and January 14, 2021, Black admitted that

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before he traveled to Washington for the “Stop the Steal” rally, he attended a political rally in

Dalton, Georgia, on January 4, 2021. (ECF 68, Attach. C at 15, Attach. D at 15.) During its

opening statement at trial, the defense also acknowledged Black attended this rally. (1/9/2023

Trial Tr. at 15-16.) The rally was to support Georgia’s two Republican candidates for the United

States Senate, incumbent Senators David Perdue and Kelly Loeffler, who were contesting a run-

off election on January 5. The centerpiece of the rally was a speech by Trump, who claimed

multiple times that Democrats had stolen the Presidential election and also said, “I hope Mike

Pence comes through for us, I have to tell you.” 4

       At approximately 36 minutes into Trump’s speech, he invited Senator Loeffler to make

remarks. She announced that “[o]n January 6th, I will object to the Electoral College votes.”

About three minutes after that, Representative Marjorie Taylor Greene addressed the crowd and

praised Senator Loeffler’s decision “to object on January 6th.”

       Senators Perdue and Loeffler lost their run-off races on January 5, which resulted in a 50-

50 party balance in the Senate and would put the Democrats in the majority once Democratic Vice

President Kamala Harris could cast a tie-breaking vote. Reflecting on the rally during his January

14 interview, Black opined it was “very depressing.” (ECF 68, Attach. D at 15.)

       Also during the January 14 interview, agents asked Black about the intentions of people

entering the Senate Chamber. Black used the phrases “Stop the Steal” and “do the right thing”5


4
    A video of the Dalton rally is available at https://www.c-span.org/video/?507634-1/president-
trump-campaigns-republican-senate-candidates-georgia. A transcript of Trump’s speech and
other       speakers’        statements       during     the      rally     is      available       at
https://www.rev.com/blog/transcripts/donald-trump-rally-speech-transcript-dalton-georgia-
senate-runoff-election.
5
  In arriving at its verdict of not guilty as to Count One, the Court noted that the evidence at trial
did not include “one single text or Tweet or statement by [Black]—before, on, or after January 6—
where he articulates his grievance in terms of anything that Congress was supposed to do in terms
of any proceeding that was going on that day. We don’t even have one single statement where

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to explain what he and other rioters could have exclaimed “outside the door” to show Senators

“you’re supposed to be working for us.” (ECF 68, Attach. D at 32.)          Besides   “Stop   the

Steal,” the phrase “do the right thing” was another frequently employed shibboleth for Trump and

his supporters in the days leading up to January 6. The phrase signified the idea that then-Vice

President Pence and Congress might not certify the election on January 6, and instead could “do

the right thing” by returning the votes to the states. Trump repeatedly used the phrase, or

variations of it, in his speech at the Ellipse on the morning of January 6. See CNN.com, Read:

Former President Donald Trump’s January 6 speech (last visited on Apr. 8, 2023) (transcript of

Trump’s Ellipse speech) available at https://www.cnn.com/2021/02/08/politics/trump-january-6-

speech-transcript/index.html (“I hope Mike is going to do the right thing”; “[I]f Mike Pence does

the right thing, we win the election”; “We have to demand that Congress do the right thing and

only count the electors who have been lawfully slated, lawfully slated.”). Black’s use of both the

“Stop the Steal” and “do the right thing” mantras signals the depth of his understanding about the

certification proceedings on January 6, 2021.


   III.         THE CHARGES AND CONVICTIONS

          On February 17, 2021, a federal grand jury returned an initial indictment charging Black

with eight counts. On December 7, 2022, the grand jury returned a superseding indictment

charging six counts:

          (1)     Count 1: Obstruction of an Official Proceeding and Aiding and Abetting
                  (18 U.S.C. §§ 1512(c)(2), 2);
          (2)     Count 2: Entering and Remaining in a Restricted Building or Grounds with
                  a Deadly or Dangerous Weapon, 18 U.S.C. § 1752(a)(1), (b)(1)(A);
          (3)     Count 3: Disorderly and Disruptive Conduct in a Restricted Building or


Mr. Black uses the phrase ‘Stop the Steal.’” (1/13/2023 Verdict Tr. at 30.) This additional
evidence, though not presented at trial, is relevant to sentencing.

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                 Grounds with a Deadly or Dangerous Weapon, 18 U.S.C. § 1752(a)(2),
                 (b)(1)(A);
         (4)     Count 4: Unlawful Possession of a Dangerous Weapon on Capitol Grounds
                 or Buildings, 40 U.S.C. § 5104(e)(1)(A);
         (5)     Count 5: Entering and Remaining on the Floor of Congress, 40 U.S.C.
                 § 5104(e)(2)(A); and
         (6)     Count 6: Disorderly Conduct in a Capitol Building, 40 U.S.C.
                 § 5104(e)(2)(D).

         Beginning on January 9, 2023, the Court held a bench trial. On January 13, 2023, the

Court convicted Black of Counts 2, 3, 4, 5, and 6, and acquitted him of Count 1.

   IV.         STATUTORY PENALTIES

         Black now faces sentencing on Counts 2 through 6 and the following penalties:

 Count                     Offense                                 Maximum Penalties
   2   Entering and Remaining in a Restricted Building       10 years in prison;
       or Grounds with a Deadly or Dangerous Weapon,         $250,000 fine; or both; and
       18 U.S.C. § 1752(a)(1), (b)(1)(A)                     mandatory $100 special assessment
   3   Disorderly and Disruptive Conduct in a                10 years in prison;
       Restricted Building or Grounds with a Deadly or       $250,000 fine; or both; and
       Dangerous Weapon, 18 U.S.C. § 1752(a)(2),             mandatory $100 special assessment
       (b)(1)(A)
   4   Unlawful Possession of a Dangerous Weapon        Five years in prison;
       on Capitol Grounds or Buildings, 40 U.S.C. §     $250,000 fine; or both; and
       5104(e)(1)(A)                                    mandatory $100 special assessment
   5   Entering and Remaining on the Floor of           Six months in prison;
       Congress, 40 U.S.C. § 5104(e)(2)(A)              $5,000 fine; or both; and
                                                        mandatory $10 special assessment
   6       Disorderly Conduct in a Capitol Building, 40 Six months in prison;
           U.S.C. § 5104(e)(2)(D)                       $5,000 fine; or both; and
                                                        mandatory $10 special assessment


   V.          THE SENTENCING GUIDELINES AND GUIDELINES ANALYSIS

         As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). “As a matter of administration and to secure nationwide consistency, the Guidelines


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should be the starting point and the initial benchmark” for determining a defendant’s sentence.

Id. at 49. The United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) are “the product

of careful study based on extensive empirical evidence derived from the review of thousands of

individual sentencing decisions” and are the “starting point and the initial benchmark” for

sentencing. Id. at 49.

       While the government notes one immaterial error in the United States Probation Office’s

(“USPO”) grouping analysis of Black’s counts of conviction, it agrees with its ultimate conclusion

regarding Black’s applicable Guidelines range. The government’s Guidelines analysis follows:

       A.      Analysis for Each Count

       Count 2:          18 U.S.C. § 1752(a)(1), (b)(1)(A) – Entering and Remaining in a
                         Restricted Building or Grounds with a Deadly or Dangerous Weapon

 Base Offense            4    U.S.S.G. § 2B2.3(a) (Trespass)
 Level
 Specific            +2       U.S.S.G. § 2B2.3(b)(1)(A)(vii): the trespass occurred “at any
 Offense                      restricted building or grounds.”
 Characteristic
                              On January 6, 2021, the Capitol was restricted because protectees of
                              the United States Secret Service were visiting. See 18 U.S.C. §
                              1752(c)(1)(B).
 Specific            +2       U.S.S.G. § 2B2.3(b)(2): the trespass occurred while “a dangerous
 Offense                      weapon [. . .] was possessed.”
 Characteristic
                         Black carried a knife, which the Court found to be a deadly or
                         dangerous weapon, while he was on the restricted grounds of the
                         Capitol and inside the building.
 Cross-             *See U.S.S.G. § 2B2.3(c)(1): “If the offense was committed with the
 Reference         below intent to commit a felony offense, apply §2X1.1 in respect to that
                         felony offense, if the resulting offense level is greater than that
                         determined above.”

       The cross-reference under U.S.S.G. § 2B2.3(c), which applies when the offense is

committed with the intent to commit another felony, applies here. Despite the Court acquitting




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Black on Count 1 where proof beyond a reasonable doubt is required, 6 the evidence for sentencing

purposes establishes by a preponderance of the evidence that Black unlawfully entered or remained

in the Capitol building with a dangerous weapon—the crime of which he was convicted in Count

2, the violation of 18 U.S.C. § 1752(a)(1), (b)(1)(A)—with the intent to obstruct a congressional

proceeding, in violation of 18 U.S.C. § 1512(c)(2) as charged in Count 1, which is a felony. Even

if Black did not commit the offense of obstructing a congressional proceeding, in his trespass, he

acted with the intent to do so, as established by a preponderance of the evidence. This conclusion

is supported by the Court’s detailed record of findings when it issued its verdict on January 13,

2023.

        Specifically, the Court found that the government proved the first element of § 1512(c)(2),

that Black “attempted to or did obstruct” the official proceeding. (1/13/2023 Verdict Tr. at 17.)

The Court found that the government did not prove the second and third elements that “the

defendant intended to obstruct or impede the official proceeding,” as alleged in the indictment,

and did so knowingly. (Id. at 29, 32-33.) In reaching this conclusion, the Court noted that the

government was required to prove that “the defendant has to have a particular official proceeding

in mind,” and “that appears to be absent from the government’s proof in this case.” But the Court


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  Earlier this year, the United States Sentencing Commission published proposed amendments to
the Sentencing Guidelines for public comment including one proposed amendment that would
have prohibited the use of acquitted conduct in applying the Guidelines. U.S. Sentencing
Comm’n, Proposed Amendments to the Sentencing Guidelines 211 (Feb. 2, 2023), available at
https://www.ussc.gov/sites/default/files/pdf/amendment-process/reader-friendly-
amendments/20230201_RF-proposed.pdf. However, the Sentencing Commission has decided
not to adopt that amendment, and acquitted conduct will remain an appropriate consideration in
applying the Guidelines. See generally U.S. Sentencing Comm’n, Amendments to Sentencing
Guidelines           (Preliminary)        (Apr.      5,        2023),        available       at
https://www.ussc.gov/sites/default/files/pdf/amendment-process/reader-friendly-
amendments/20230405_prelim-RF.pdf. Nor is there any constitutional prohibition against using
acquitted conduct, if proved by a preponderance of evidence, to increase the sentence up to the
statutory maximum. United States v. Watts, 519 U.S. 148, 156 (1997).

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also acknowledged that, based on the government’s proof for these elements,

       [o]ne could, in good faith, [. . .] urge that one could draw the inferences, make the
       assumptions and connections it asks me to make. And that could possibly be
       sufficient for Rule 29 purposes, where the Court is required to resolve all the
       inferences in favor of the government. But as a factfinder, I cannot say in good
       conscience, that the government has proved this element beyond a reasonable
       doubt. I’m on the fence and I am troubled by it and that’s not good enough.

(Id. at 32-33 (emphasis added).) The knowing element also “falls with the previous element,

given the absence of specificity.” (Id. at 33.)

       Because the Court acknowledged that it was “on the fence” whether the government proved

the second and third elements based on a reasonable-doubt standard, noting the absence of direct

evidence but the ability to draw that conclusion based on circumstantial evidence, the government

submits that it proved these elements on the lesser preponderance standard, which applies when

determining the applicable sentencing range. See U.S.S.G. § 6A1.3 cmt. 1 (“The Commission

believes that use of a preponderance of the evidence standard is appropriate to meet due process

requirements and policy concerns in resolving disputes regarding application of the guidelines to

the facts of a case.”). And at the very least, the government has established by this lesser standard

that Black entered and remained in the restricted area of the Capitol with the intent to obstruct the

specific certification proceeding happening on the Senate floor that day. The government will

ask the Court at sentencing to expressly find these facts by a preponderance of the evidence.

       In addition to the evidence the government presented at trial—including Black’s remark

that “Pence turned on us and that they had stolen the election, like officially”; the ample indications

of an abruptly halted proceeding when he entered the Senate Chamber; and his photographing of

the certification document from a Senator’s desk—further evidence supports the conclusion that

Black knowingly intended to obstruct the certification proceeding. He remained on the West

Capitol grounds until nightfall—after USCP officers had finally fended off the violent mob and

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ended an hours-long struggle at the Lower West Terrace Tunnel—and proudly admitted to an

officer that he had entered the Capitol earlier that day. He invoked the present-tense phrases “Stop

the Steal”—the slogan many Capitol rioters shouted, in earshot of Black, as they sought to obstruct

the certification proceeding—and “do the right thing” during one of his FBI interviews as he

described what rioters could have done when they were at the Senate Chamber door. And he

attended the Dalton rally on January 4, just two days earlier, during which speakers promoted the

Senate run-off races of the two Georgia incumbents and made explicit statements about the January

6 certification proceeding. Black’s disappointment about the results of the run-off elections and

knowledge that the result would be a Congress with a “crooked Democrat House” and a “crooked

Democrat Senate” further demonstrate his savvy about recent political developments and the

import of Vice President Pence and Congress’s business at the Capitol on January 6. In short, the

speakers at the Dalton rally on January 4, and at the “Stop the Steal” rally on January 6, made it

clear to Black and the rest of the audience that the path to stop Joe Biden from taking power and

“stealing our country” was to interfere with Congress’s certification of the vote count on the

afternoon of January 6.

        Finally, as to the fourth element requiring proof that “the defendant acted corruptly,” the

Court found it “need not decide this very close issue” due to its determination on the prior elements.

But it also recognized that

        [g]iven the number of times [Black] repeatedly passed through or over obvious
        barricades, he repeatedly pushed his way past uniformed officers, he repeatedly
        ignored their official entreaties to desist or depart, all notwithstanding the very
        obviously illegal mayhem around him and the very obvious way the U.S. Capitol
        Police had tried to stop him in particular, a reasonable juror could conclude that this
        element was established.

(1/13/2023 Verdict Tr. at 35.) 7

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    The government also charged Count 1 on an aiding-and-abetting theory. The Court also

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       All this shows, by at least a preponderance of the evidence, that Black knowingly

committed the offense charged in Count 2 with intent to obstruct the certification proceeding on

January 6, 2021, and did so corruptly.

       Other judges in this district have applied the U.S.S.G. § 2B2.3(c) cross-reference based on

similar conduct, even when the underlying 18 U.S.C. § 1752(a)(1) offense was a misdemeanor,

unlike this case, where it is a felony because of Black’s possession of a deadly weapon.

Admittedly, these were not cases in which a defendant was acquitted of a § 1512(c)(2) count. See,

e.g., United States v. Anthony Williams, 21-cr-00377 (BAH), 9/16/2022 Sentencing Tr. at 49-51

(defendant also found guilty of § 1512(c)(2)); United States v. Bledsoe, 21-cr-00204 (BAH), 10/21/

2022 Sentencing Tr. at 76-78 (defendant also found guilty of § 1512(c)(2)); compare with United

States v. Nicholas Rodean, 21-cr-00057 (TNM), 10/26/2022 Sentencing Tr. at 5-11 (defendant not

charged with § 1512(c)(2); court declined to apply the § 2B2.3(c) cross-reference to the

§ 1752(a)(1) misdemeanor conviction based on the case-specific facts—where in the court’s

assessment, the defendant did not intend to obstruct—but noted, “I think in many situations with

many individuals the sum of the various pieces of evidence that the Government put forth at trial

would certainly make out the guideline for obstruction of administration of justice [under the cross-

reference]”). As succinctly explained by Chief Judge Howell in Bledsoe:

       The guideline at 2B2.3 applies to Count 2, charging: Entering and remaining in a
       restricted building or grounds, under 18 U.S.C. Section 1752(a)(1). This guideline
       provides a base offense level of 4 under the Guideline at Section 2B2.3(a). Two
       offense levels are added because the trespass occurred at a restricted building or
       grounds, under the Guideline at 2B2.3(b)(1)(A)(vii). It is then adjusted up to 25
       offense levels pursuant to the guideline at 2B2.3(c)(1) and 2X1.1(a) because the
       offense was committed with the intent to commit the felony obstruction offense
       which adds up to 25 offense levels [pursuant to U.S.S.G. §2J1.2(a)] [. . .].

concluded that the government failed to prove Count 1 beyond a reasonable doubt on this theory.
(1/13/2023 Verdict Tr. at 35-36.)

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       As in these other cases, § 2X1.1(a) applies, and so the base offense level is determined by

application of § 2J1.2:

 Base Offense         14    U.S.S.G. § 2X1.1(a): “The base offense level from the guideline for
 Level                      the substantive offense, plus any adjustments from such guideline
 (adjusted)                 for any intended offense conduct that can be established with
                            reasonable certainty.”

                            Black entered the restricted area of the Capitol complex for the
                            purpose of obstructing the official proceeding—that is, stopping
                            Congress from doing its work and to “show the politicians that [. . .]
                            the people run this country.” He was the first individual to breach
                            the Lower West Terrace barricade and positioned himself at the front
                            of the mob that gathered on the West and East Fronts of the Capitol
                            at various points during the early afternoon of January 6. He
                            entered and occupied the Senate Chamber for over 20 minutes and
                            did not leave until police officers forced him and other rioters out.
                            He was aware of the certification proceeding based on the
                            certification document he seized and photographed, the condition of
                            the Chamber when he entered, and other surrounding circumstances,
                            including his attendance at the Dalton rally. His statements about
                            his participation in the breach demonstrated his pride in and political
                            motivations for entering the Capitol and Senate Chamber and his
                            savvy about the political system and the circumstances of the 2020
                            Congressional elections. He engaged in his conduct at the Capitol
                            amid myriad surrounding examples of criminal conduct designed to
                            obstruct the proceeding throughout January 6.

                            The substantive offense is thus Count 1, and the base offense level
                            for that offense should be applied: U.S.S.G.             § 2J1.2(a) –
                            Obstruction of Justice.
 Specific             +8    U.S.S.G. § 2J1.2(b)(1)(B): “the offense involved causing or
 Offense                    threatening to cause physical injury to a person, or property damage,
 Characteristic             in order to obstruct the administration of justice.”

                            For purposes of this enhancement, the “administration of justice” is
                            synonymous with “official proceeding” as defined in 18 U.S.C.
                            § 1515(a)(1), which in the Capitol Riot cases refers to a “proceeding
                            before the Congress,” § 1515(a)(1)(B).

                            There are multiple bases for application of this offense characteristic,
                            in light of U.S.S.G. § 1B1.3, which encompasses both the
                            defendant’s own acts or omissions and those whom the defendant
                            aided, abetted, counseled, commanded, induced, procured, or

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               willfully caused. It also includes “all harm that resulted” from the
               defendant’s acts or the acts of others engaged in jointly undertaken
               criminal activity with the defendant, see § 1B1.3(a)(3). Black’s
               conduct threatened to cause physical injury to police officers in order
               to obstruct the administration of justice.

               First, as described above, Black was the first rioter to breach the
               Lower West Terrace barricade and he positioned himself multiple
               times at the very front of angry mobs on the West and East Fronts of
               the Capitol. That conduct helped open the floodgates to the mob of
               hundreds of rioters who quickly breached the police-guarded
               perimeters outside the Capitol and then the exterior doors of the
               Capitol building itself, with its ensuing violent attacks on hundreds
               of police officers. And as a result of Black’s wound from the
               USCP’s less-than-lethal efforts to remove the violent crowd, rioters
               grew enraged and began attacking the police with even more force
               and violence. The attacks on the police were spurred on by Black’s
               presence in the area.

               Second, he participated in the violent breach of the East Rotunda
               Doors, where he joined in a heave-ho maneuver thrusting into a thin
               police line defending the doorway. He remained at the front of the
               mob while other rioters pushed, pulled, screamed at, threw objects
               at, and sprayed chemical irritants on USCP officers. After rioters
               breached the doors, he forced his way over the threshold and in
               between two police officers, making physical contact with them.

               Third, while roaming the Senate Wing corridors, he encountered two
               plainclothes USCP officers who had just been attacked by other
               rioters. As they retreated down the East Gallery Stairs, Black twice
               menacingly shouted at them, “We will not stand down.” He
               followed after them and appeared to look for where they fled.

               Fourth, he occupied the Senate Chamber for over 20 minutes.
               While there, Black associated with Larry Brock, who was dressed in
               military gear and carrying flex-cuffs, and Jacob Chansley, who
               carried a makeshift spear into the Chamber. Black disregarded the
               orders of a USCP officer to leave the Chamber, and he did not vacate
               until a column of police officers entered the Chamber to force him
               and other rioters out.

               Fifth, he used belligerent rhetoric during a street interview after he
               exited the Capitol and while still on the grounds: “A well-regulated
               militia’s a good idea right now. I’m not a violent guy. Like, I don’t
               like violence at all. But, I mean, we can’t put up with this, man.



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                             Like, this ain’t – you know? But if Biden becomes president –
                             goodbye, America.”

                             Sixth, Black remained on the Capitol grounds until nightfall, after
                             beleaguered police officers had engaged in a prolonged struggle and
                             finally amassed the force to drive rioters out of the Tunnel and the
                             Lower West Terrace.
Specific            +3       U.S.S.G. §2J1.2(b)(2): “the offense resulted in substantial
Offense                      interference with the administration of justice.”
Characteristic
                             For purposes of this enhancement, the “administration of justice” is
                             synonymous with “official proceeding” as defined in 18 U.S.C.
                             § 1515(a)(1), which in the Capitol Riot cases refers to a “proceeding
                             before the Congress,” § 1515(a)(1)(B).

                             The official proceeding of Congress’s Joint Session, which was
                             required by the Constitution and federal statute, had to be halted for
                             almost six hours while legislators were physically evacuated for their
                             own safety. Black, by remaining on the Senate floor for over 20
                             minutes, obstructed and impeded this proceeding. The riot he was
                             part of resulted in evacuations, vote-count delays, officer injuries,
                             and over $2.8 million in losses. Law-enforcement officials from all
                             over the D.C. metropolitan area were called in to assist in protecting
                             the Capitol from the rioters. Black’s offense resulted in substantial
                             interference with the proceedings in Congress.
Total              25


        Count 3:        18 U.S.C. § 1752(a)(2), (b)(1)(A) – Disorderly and Disruptive Conduct in
                        a Restricted Building or Grounds with a Deadly or Dangerous Weapon

Base Offense        10       U.S.S.G. § 2A2.4(a) (Obstructing or Impeding Officers)
Level:
Special Offense     +3       U.S.S.G. § 2A2.4(b)(1): “the offense involved physical contact.”
Characteristic
                             Black made physical contact with the officers in front of the Lower
                             West Terrace when rioters pushed him and themselves into the police
                             line and he did not remove himself from that area. Black also forced
                             his way through and came into physical contact with two USCP
                             officers after he entered the Capitol at the East Rotunda Doors.
Total              13

        Count 4:        40 U.S.C. § 5104(e)(1)(A) - Unlawful Possession of a Dangerous Weapon
                        on Capitol Grounds or Buildings



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 Base Offense             6    U.S.S.G. § 2K2.5 (Possession of Firearm or Dangerous Weapon in
 Level                         Federal Facility)
 (adjusted)
 Cross-               *See     U.S.S.G. § 2K2.5(c)(1)(A): “If the defendant used or possessed any
 Reference           analy-    firearm or dangerous weapon in connection with the commission or
                     sis for   attempted commission of another offense, or possessed or
                     Count     transferred a firearm or dangerous weapon with knowledge or intent
                        2.     that it would be used or possessed in connection with another
                               offense, apply . . . § 2X1.1 (Attempt, Solicitation, or Conspiracy) in
                               respect to that other offense if the resulting offense level is greater
                               than that determined above.”

                               Black possessed a dangerous weapon—a knife—in connection with
                               the commission or attempted commission of other offenses of
                               conviction, Entering and Remaining in a Restricted Building or
                               Grounds with a Deadly or Dangerous Weapon (Count 2), Disorderly
                               and Disruptive Conduct in a Restricted Building or Grounds with a
                               Deadly or Dangerous Weapon (Count 3), Entering and Remaining
                               on the Floor of Congress (Count 5), and Disorderly Conduct in a
                               Capitol Building (Count 6). As shown by the analysis, above,
                               Count 2 yields the highest offense level.

                               As with the cross-reference to § 2X1.1(a) under the § 2B2.3(c)(1)
                               guideline for Count 2, the base offense level is determined by
                               application of § 2J1.2. After applying the pertinent specific offense
                               characteristics to the adjusted base offense level, the total offense
                               level is 25.
 Total               25

         Counts 5 and 6:        40 U.S.C. §§ 5104(e)(2)(A) and (D) - Entering and Remaining on
                                the Floor of Congress and Disorderly Conduct in a Capitol
                                Building

         Counts 5 and 6 are Class B misdemeanors to which the Sentencing Guidelines do not apply.

See 40 U.S.C. § 5109(b); 18 U.S.C. § 3559(a)(7); U.S.S.G. § 1B1.9.

         B.     Grouping Analysis

         Under U.S.S.G. § 3D1.2, “closely related counts” group.

         Counts 2 (Entering and Remaining in a Restricted Building or Grounds with a Deadly or

Dangerous Weapon), 3 (Disorderly or Disruptive Conduct in a Restricted Building or Grounds

with a Deadly or Dangerous Weapon) and 4 (Unlawful Possession of a Dangerous Weapon on

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Capitol Grounds or Buildings) all group because each involves the same victim, Congress.

Because Counts 2 and 4 have a higher offense level, the offense level for the group is the offense

level for Counts 2 and 4, which is 25. See U.S.S.G. § 3D1.3(a) (“the offense level applicable to

a Group is the offense level . . . for the most serious of the counts comprising the Group, i.e., the

highest offense level of the counts in the Group.”).

          The USPO maintains that while Counts 2 and 4 group, Count 3 does not group with the

other counts because there are different victims that are the subject of these counts. (PSR at ¶¶

41-42.)        The government disagrees and believes that Counts 2 through 4 all involve the same

victim, Congress. In any event, the government agrees with the USPO’s conclusion that Black’s

total offense level is 25. (PSR at ¶ 63.) The USPO calculated Black’s criminal history as

category I, which the government also does not dispute. (PSR at ¶ 66.) Accordingly, based on

the government’s and the USPO’s calculation of his total offense level, Black’s Guidelines

imprisonment range is 57-71 months. (PSR at ¶ 104.)

          Should the Court decline to apply the cross-reference to the guideline for Count 1 pursuant

to U.S.S.G. § 2B2.3(c)(1) or otherwise not apply the enhancements the government and the USPO

have found applicable to Black’s conduct, the government will seek a variance to offense level 25

and ask the Court to impose a sentence of 60 months. The very conduct that supports the

application of the cross-reference and these enhancements, detailed in the analysis above, warrants

such a variance, and, as discussed further below, is consistent with the sentences imposed in similar

cases arising out of the Capitol Siege where defendants with similar histories and characteristics

engaged in similar conduct.

          C.       Black is Not Entitled to Acceptance-of-Responsibility Credit

          Black is not entitled to a two-level offense level reduction under U.S.S.G. § 3E1.1 for



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acceptance of responsibility. Such an adjustment, the guidelines commentary makes clear, “is not

intended to apply to a defendant who puts the government to its burden of proof at trial by denying

the essential factual elements of guilt, is convicted, and only then admits guilt and expresses

remorse.” U.S.S.G. § 3E1.1, application n.2.

       Although he does not dispute that legal principle, Black objects to the PSR on the ground

that he is entitled to the reduction. He claims that: he voluntarily turned himself in to the FBI

shortly after his offense conduct; he consented to two voluntarily interviews with the FBI and to a

search of his home for evidence related to his conduct; the parties had engaged in plea negotiations

dating back to May 2021, and his counsel represented that Black would have entertained pleading

guilty to one or more misdemeanors; following the December 20, 2021, pretrial conference, his

counsel represented that he entertained pleading guilty to an unspecified felony; he entered into

several evidentiary stipulations that resulted in streamlining the trial; and during trial, he conceded

guilt as to Count 5 and “conceded as to several of the elements of the other offenses in the various

other counts of the indictment.” All that is true, but none of it warrants a reduction for acceptance

of responsibility.

       Black did voluntarily surrender to the FBI and cooperate with the FBI’s investigation

leading up to his arrest, which can be considered in applying the two-level reduction under

U.S.S.G. § 3E1.1, application ns.1(D), 1(E). However, his cooperation occurred after he knew

images of his criminal conduct were widely disseminated in news and social media and it was only

a matter of time before the FBI would have identified and arrested him. Black’s counsel voiced

interest in entertaining a misdemeanor plea at multiple times during the case’s pendency. But as

the trial evidence established, Black’s willingness to plead to misdemeanors in no way reflected

his acceptance of responsibility for the seriousness of his actual conduct, and instead indicates his



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eagerness to avoid responsibility for his felonious conduct.

       Black’s counsel also expressed—for the first time since Black’s arrest over 18 months

before—a nebulous interest in entertaining a felony plea shortly after the pretrial conference.

Even if Black were interested in pleading to an unspecified felony offense as part of a favorable

negotiated settlement—and it is far from certain that he would have actually entered a guilty plea—

the untimeliness of that belated interest still belies any clear demonstration by Black that he had

accepted responsibility.   See U.S.S.G. § 3E1.1, application n. 6 (timeliness of defendant’s

acceptance of responsibility is “a consideration” and “context specific”).

       Black also stipulated to many of the relevant facts and conceded guilt to two misdemeanor

offenses—a lesser included offense of Count 2 (Entering and Remaining in a Restricted Building

or Grounds) and Count 5 (Entering and Remaining on the Floor of Congress)—and elements of

other counts during the trial. (ECF 61, Attach. D; 1/11/2023 Trial Tr. at 566-570.) All these

factors can be considered in his favor under 18 U.S.C. § 3553.

       But Black did not stipulate to the disputed, key fact at trial: his criminal intent.

       As this Court will recall, Black’s defense at trial was that he lacked the criminal mens rea

to have committed certain offenses, most importantly, the felony Obstruction offense in Count 1,

for which he was acquitted, and the felony offense of Disorderly and Disruptive Conduct in a

Restricted Building or Grounds with a Deadly or Dangerous Weapon in Count 3, for which he was

convicted. (1/12/2023 Trial Tr. at 612 (defense counsel argued that Black “did not have the

specific intent to commit all of the crimes [. . .] with which he has been charged”).)    As set forth

in the Court’s instructions, Count 3 required proof beyond a reasonable doubt that Black

knowingly engaged in disorderly or disruptive conduct in any restricted building or grounds “and

with the intent to impede or disrupt the orderly conduct of Government business or official



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functions.”     (ECF 70 at 9.)

         Black also contended he lacked the intent to “impede, disrupt, or disturb the orderly

conduct of a session of Congress or either House of Congress” in Count 6 (id. at 14), a

misdemeanor offense to which the Guidelines do not apply. At trial, the defense claimed Black’s

sole purpose for entering the Capitol on January 6 was to “plead the blood of Jesus on one of the

Houses of Congress,” (1/9/2023 Trial Tr. at 22), a claim belied by the evidence. That is a denial

of the fact of his mens rea, not a legal argument divorced from the factual elements (such as a

claim that a statute does not cover the admitted factual conduct, or that the admitted conduct is

constitutionally protected). U.S.S.G. § 3E1.1, application n.2.

         In addition, while Black conceded that he carried a knife into the Capitol, he did not

concede that the knife was a “deadly or dangerous weapon” in relation to Counts 2 and 3, or a

“dangerous weapon” as to Count 4. Litigation regarding the knife required extensive testimony,

argument, and briefing by the government concerning a mix of factual and legal issues related to

the nature of the knife and the measurement of its blade.

         In short, Black “put[] the government to its burden of proof at trial by denying essential

elements of guilt”—not only as to Count 1, but to the majority of the counts of conviction too—

and was “convicted.”       U.S.S.G. § 3E1.1, application n.2.       The Guidelines’ commentary

establishes that he is not entitled to acceptance credit.


   VI.        SENTENCING FACTORS UNDER 18 U.S.C. § 3553(A)

         In this case, sentencing is guided by 18 U.S.C. § 3553(a). Some of the factors this Court

must consider include: the nature and circumstances of the offense, § 3553(a)(1); the history and

characteristics of the defendant, id.; the need for the sentence to reflect the seriousness of the

offense and promote respect for the law, § 3553(a)(2)(A); the need for the sentence to afford


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adequate deterrence, § 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities

among defendants with similar records who have been found guilty of similar conduct,

§ 3553(a)(6). In this case, as described below, the Section 3553(a) factors weigh in favor of a

lengthy term of incarceration.

       A.      Nature and Circumstances of the Offense

       The attack on the Capitol on January 6, 2021, is a criminal offense unparalleled in

American history. It represented a grave threat to our democratic norms; indeed, it was one of

the only times in our history when the Capitol building was literally occupied by hostile

participants. By its very nature, the attack defies comparison to other events.

       While each defendant should be sentenced based on his or her individual conduct, all

individuals who entered the Capitol and assaulted police on January 6 did so under the most

extreme of circumstances, to which their conduct directly contributed. As individuals entered the

Capitol, they would—at a minimum—have crossed through numerous barriers and barricades,

heard the throes of a mob, and smelled chemical irritants in the air. Depending on the timing and

location of their approach, in addition to their own acts of violence, they likely would have

observed other extensive fighting with police.

       While looking at a defendant’s individual conduct, we must assess such conduct on a

spectrum. This Court, in determining a fair and just sentence on this spectrum, should look to a

number of critical factors, to include: (1) whether, when, and how the defendant entered the Capitol

building; (2) whether the defendant encouraged violence; (3) whether the defendant encouraged

any acts of property destruction; (4) the defendant’s reaction to acts of violence or destruction;

(5) whether during or after the riot, the defendant destroyed evidence; (6) the length of the

defendant’s time inside the building, and exactly where the defendant traveled; (7) the defendant’s



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statements in person or on social media; (8) whether the defendant cooperated with, or ignored,

law enforcement; and (9) whether the defendant otherwise exhibited evidence of remorse or

contrition. While these factors are not exhaustive nor dispositive, they help to place individual

defendants on a spectrum as to their fair and just punishment.

       The nature and circumstances of Black’s crimes weigh heavily towards a significant term

of incarceration.

       Black was a notorious offender during the attack on the Capitol. The nation was shocked

and appalled at the events of January 6, and perhaps no other incident sparked as much as outrage

and distress as Black and other rioters’ occupation of the Senate Chamber. Consequently, images

of Black usurping the Senate Floor with other rioters featured prominently in national media.

       In Black’s own words, he believed the election—and his country—had been “stolen.” He

and other rioters felt Vice President Pence had “turned on” them when Pence announced he did

not have the authority to unilaterally resolve the electoral-vote certification in Trump’s favor.

Black’s disdain for the nation’s elected leaders assembled at the Capitol was plain: he wanted to

show the “crooked,” “dirt bag[]” politicians that “the people run this country” and can “abolish”

the government. As events unfolded on January 6 beginning with Trump’s speech at the Ellipse,

Black decided to leave the Ellipse and take his outrage to the seat of government.

       Of the thousands of individuals who converged on the building on January 6, Black bears

the distinction of being the first rioter to breach the barricade at the Lower West Terrace. This

brazen act no doubt encouraged other rioters, who soon after overran the entire Lower West

Terrace. Black then positioned himself at the front of the large, unruly mob on the West Plaza,

face-to-face with police officers. He remained at the front of the West Plaza crowd even after

being struck with a less-than-lethal munition. Despite incurring a grotesque injury, he did not



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stand down.

       Of the thousands of people who descended upon the Capitol’s East Front, Black again

muscled his way to the very front, directly in front of the besieged officers cornered at the Rotunda

Doors, and entered the building within two minutes of the breach of that entryway.

       And of the droves of rioters outside and inside the building, Black was one of the very

few—20 or so individuals—who breached the Senate Chamber and the space that Officer

Robishaw reverently called the “sacredest place.” All the while—beginning with his unlawful

entry on the Capitol grounds through his approximately 30-minute incursion inside the Capitol—

Black was armed with a knife and defied the unambiguous commands of police officers to leave

the Capitol building and grounds.

       Even worse, Black committed his offense while willfully disregarding the violence and

mayhem all around him – even while knowing he was the direct cause of some of that chaos.

Moreover, by spending over 20 minutes inside the Senate Chamber and approximately 30 total

minutes inside the Capitol, Black played a direct hand in obstructing and delaying the certification

proceeding – a delay that caused dismay to millions of Americans and people around the world

who view the United States as a beacon of democracy and a model for the rule of law.

       The government is unaware whether Black has yet expressed contrition for his conduct. 8

Far from being remorseful, he has been proud of what he did. In addition, he has profited from

his offenses. On December 23, 2021, Black appeared on an episode of Lumberjack Logic, a self-

described “political podcast” and blog geared to “talk about conservatism, freedom, and connect



8
  In correspondence from defense counsel dated April 20, 2023, counsel indicated that Black
wanted to apologize to Officer Marc Carrion after his testimony and later in the trial, and counsel
expects to address that issue at the sentencing. This was the first instance in which the
government learned that Black might express any form of contrition for his conduct.

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patriots around the globe.” The platform views January 6 defendants as “political prisoners.”

Lumberjack Logic, https://t.me/s/lumberjacklogicshow?before=1540 (last visited on Apr. 4, 2023).

Midway through the podcast, the host announced he would donate all the monetary contributions

raised during the episode “as a love offering” to Black and his family. Black did not appear to

know that the host would donate money to him, and at one point, stated he would prefer that

followers not direct their donations to him. Still, he expressed gratitude for the donations and

suggested he would use the money to re-shingle the roof to his house. Based on the comments of

individuals who pledged contributions during the podcast and Black’s acknowledgment that he

received donations, Black appeared to receive at least $807 in contributions resulting from his

podcast appearance. 9

          B.      Black’s History and Characteristics

          Black has no prior criminal convictions, (PSR at ¶ 65), a factor that would normally

    counsel in favor of a more lenient sentence. But other characteristics are troubling.

          On numerous occasions, Black invoked extremist and belligerent rhetoric.              Trial

    evidence demonstrated that he envisioned an “armed revolution” due to anger over the election,

    though he did not want to see that. He also mused, while he was on the Capitol grounds and

    police officers were still under attack, “A well-regulated militia’s a good idea right now.” In

    addition, during his January 8, 2021, interview with the FBI, an agent asked Black if he believed,



9
  A second guest on the podcast pledged to double any $100 contribution any viewer made during
the podcast. Based on the podcast comments, there were at least four $100 contributions from
other viewers. If the other guest followed through on his commitment, that would have resulted
in $400 in additional proceeds to Black, and Black would have realized at least $1,207 in total
contributions from his podcast appearance. The amount Black received may have exceeded that
total; the podcast host asked viewers to donate to a PayPal account, and, presumably, individuals
could have made donations without commenting on them, and others may have donated after
viewing the webcast recording.

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 in general terms, that his freedom is being taken away. Black replied:

         It hasn’t yet, but I don’t see it lasting very long. Because if they ever take the guns,
         that’s it. ‘Cause then they can bring in the, the, the red shirts or the brown shirts
         or the, whatever. [. . .] The same [. . .] thing the Nazis did.

When the agent asked why Black believed his guns would be taken away, Black replied in bleak

terms:

         ‘Cause that’s all they ever talk about. [. . .] [Being able to possess a gun]
         guarantees safety and it guarantees freedom. ‘Cause if they come in here trying to
         take something, you stop ‘em. [. . .] But if they [. . .] ever get our guns, that’s it.
         You know, if they ever talk about taking it, I mean -- all my guns are legal, but if I
         -- I don’t know. I just don’t wanna kill anybody, you know? But I don’t know
         what’s gonna happen next. [. . .] I mean if they come in here trying to take our
         guns or try to turn America into slavery again, I don’t want to see that, you know?

(ECF 68, Attach. C at 22-23.)

         Black’s doomsday assertions were not idle chatter by an armchair insurrectionist – he

participated enthusiastically and unapologetically in a violent riot that threatened the constitutional

transfer of power. While somewhat mitigated by his lack of a prior criminal conviction, this factor

also counsels in favor of incarceration.

         Black was cooperative leading up to his arrest. He voluntarily turned himself in to the

FBI before they had ever contacted him, submitted to searches of his cellphone and residence, and

gave two lengthy, voluntary interviews. He also appears to have complied with the conditions of

his pretrial release since April 2021, when he was ordered released following a detention hearing

before this Court. (PSR at ¶ 9.)

         In addition, Black demonstrated some humanity during the chaos on January 6. At the

Lower West Terrace, he knelt beside an assaulted officer on the ground for a few seconds and

yelled to others, “Don’t hurt him.” According to Officer M.W., Black also appeared to have a

calming effect on rioters acting hostile to police officers on the West Plaza. But his subsequent



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conduct—not turning back when he saw officers being viciously assaulted, participating in the

brutal breach of the Rotunda Doors, occupying the Senate Chamber, defying police officers’

commands to leave, remaining on the Capitol grounds till nightfall, and being proud of what he

did—far overshadows these isolated acts of decency.

       Despite his cooperation, compliance with pretrial release, and some mitigating behavior,

the seriousness of Black’s offenses demands a lengthy sentence of imprisonment.

       C.      The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

       The attack on the Capitol building and grounds, and all that it involved, was an attack on

the rule of law. “The violence and destruction of property at the U.S. Capitol on January 6 showed

a blatant and appalling disregard for our institutions of government and the orderly administration

of the democratic process.” 10 As with the nature and circumstances of the offense, this factor

strongly supports a sentence of significant incarceration.

       Black and his fellow rioters not only flouted the rule of law that day; they eviscerated it.

A lesser sentence would suggest to the public, in general, and other rioters, specifically, that

attempts to obstruct official proceedings and assaults on police officers are not taken seriously.

In this way, a lesser sentence could encourage further abuses. See Gall, 552 U.S. at 54 (it is a

“legitimate concern that a lenient sentence for a serious offense threatens to promote disrespect for

the law”).

       D.      The Need for the Sentence to Afford Adequate Deterrence




10
  Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight and Reform Committee (June 15, 2021) (hereinafter “FBI Director Wray’s Statement”),
available at:
 https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20Testimony.pdf.

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         Deterrence encompasses two goals: general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C), United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).

                                        General Deterrence

         A significant sentence is needed “to afford adequate deterrence to criminal conduct” by

others. 18 U.S.C. ' 3553(a)(2)(B). The need to deter others is especially strong in cases involving

domestic terrorism, which the breach of the Capitol certainly was. 11 The demands of general

deterrence weigh strongly in favor of incarceration, as they will for nearly every case arising out

of the violent riot at the Capitol.

                                        Specific Deterrence

         The need for the sentence to provide specific deterrence to this particular defendant also

weighs heavily in favor of a lengthy term of incarceration.

         Black has never admitted his conduct was wrong; indeed, he was proud that he breached

the Capitol and relished the attention he received during and after the riot. While he turned

himself in to the FBI after he posted his YouTube testimonial, his cooperation reflected resignation

to the legal consequences he knew he faced rather than contrition.

         In addition, Black’s appearance on an online platform that views January 6 offenders as

persecuted patriots further demonstrates that his sentence must be sufficient to provide specific

deterrence from committing future crimes of violence, particularly in light of his extremist

ideations and belligerent rhetoric and an approaching Presidential-election cycle that, regrettably,

has the potential for more violent conflict.


11
     See 18 U.S.C. § 2331(5) (defining “‘domestic terrorism’”).

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        E.     The Importance of the Guidelines

        “The Guidelines as written reflect the fact that the Sentencing Commission examined tens

of thousands of sentences and worked with the help of many others in the law enforcement

community over a long period of time in an effort to fulfill [its] statutory mandate.” Rita v. United

States, 551 U.S. 338, 349 (2007). As required by Congress, the Commission has “‘modif[ied] and

adjust[ed] past practice in the interests of greater rationality, avoiding inconsistency, complying

with congressional instructions, and the like.’” Kimbrough v. United States, 552 U.S. 85, 96

(2007); 28 U.S.C. § 994(m). In so doing, the Commission “has the capacity courts lack to ‘base

its determinations on empirical data and national experience, guided by professional staff with

appropriate expertise,’” and “to formulate and constantly refine national sentencing standards.”

Kimbrough, 552 U.S. at 108. Accordingly, courts must give “respectful consideration to the

Guidelines.” Id. at 101.

        Here, the Court must balance all of the § 3553 factors to fashion a just and appropriate

sentence. The Guidelines unquestionably provide the most helpful benchmark and are a powerful

driver of consistency and fairness. However, in appropriate circumstances, a variance from the

applicable Guidelines range may be warranted when considering the § 3553 factors.

        F.     Unwarranted Sentencing Disparities

        Finally, as to 18 U.S.C. § 3553(a)(6)—the need to avoid unwarranted sentencing

disparities—the crimes that Black and others like him committed on January 6 are unprecedented.

These crimes defy statutorily appropriate comparisons to the same offenses in other cases that did

not arise from the January 6 riot at the Capitol. To try to mechanically compare other defendants

before January 6, 2021, would be a disservice to the magnitude of what the riot entailed and

signified.



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         As noted above, Black was found guilty of Entering and Remaining in a Restricted

Building or Grounds with a Deadly or Dangerous Weapon under 18 U.S.C. § 1752(a)(1), (b)(1)(A)

(Count 2); Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a Deadly

or Dangerous Weapon under 18 U.S.C. § 1752(a)(2), (b)(1)(A) (Count 3); Unlawful Possession of

a Dangerous Weapon on Capitol Grounds or Buildings under 40 U.S.C. § 5104(e)(1)(A) (Count

4); Entering and Remaining on the Floor of Congress under 40 U.S.C. § 5104(e)(2)(A) (Count 5);

and Disorderly Conduct in a Capitol Building, 40 U.S.C. § 5104(e)(2)(D) (Count 6). As of the

date of this sentencing memorandum, undersigned counsel are unaware of any other Capitol rioter

who has been sentenced post-trial where her or his most serious counts of conviction involved one

or more violations of any subsection of 18 U.S.C. § 1752 and a felony weapon offense, as is the

case here. But the sentences for four defendants who were found guilty of a violation of 18 U.S.C.

§ 1512(c)(2) and who committed conduct comparable to Black’s may be instructive. These

defendants each received sentences of incarceration ranging from 24 to 60 months. 12

         First, in United States v. Larry Brock, 12-cr-00140 (JDB), Judge Boasberg sentenced the

defendant to 24 months in prison. 13 In the days and weeks leading up to January 6, Brock, a


12
     Each of these defendants, like Black, had a criminal-history category of I.
13
   Following a bench trial, Brock was found guilty of six counts: (1) Obstruction of an Official
Proceeding (18 U.S.C. §§ 1512(c)(2) and 2); (2) Entering and Remaining in a Restricted Building
or Grounds (18 U.S.C. § 1752(a)(1)); (3) Disorderly and Disruptive Conduct in a Restricted
Building or Grounds (18 U.S.C. § 1752(a)(2)); (4) Entering and Remaining on the Floor of
Congress (40 U.S.C. § 5104(e)(2)(A)); (5) Disorderly Conduct in a Capitol Building (40 U.S.C.
§ 5104(e)(2)(D)); and (6) Parading, Demonstrating, or Picketing in a Capitol Building (40 U.S.C.
§ 5104(e)(2)(G)). At sentencing, the court found that the specific offense characteristic at
U.S.S.G. § 2J1.2(b)(1)(B) (“offense involved causing or threatening to cause physical injury to a
person, or property damage, in order to obstruct the administration of justice”), which adjusts the
offense level +8, did not apply. While Brock engaged in extreme, violent rhetoric in the days and
weeks leading up to January 6, he did not display any violence on the day of the riot, admonished
others not to be destructive or disrespectful, and broke up some violence between other rioters and
police officers. Therefore, Brock’s applicable Guidelines sentence range was 24-30 months in
prison. The court also credited Brock’s successful military service in imposing its sentence.

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retired United States Air Force lieutenant colonel, grew increasingly angry about the 2020

Presidential election and proclaimed on Facebook that the election was stolen. He also opined,

“Congress can stop it on the 6th of January,” and posted a slew of extremist comments, including

a remark that “[i]f the President calls, I will answer. #OathKeeper,” and an exhortation to “execute

the traitors that are trying to steal the election, and that includes the leaders of the media and social

media aiding and abetting the coup plotters.” Brock bragged to his friends about purchasing

tactical gear in anticipation of January 6, and he “preferred outright insurrection at this point.”

        On January 6, Brock, dressed in that tactical gear, entered the building at the Senate Wing

Door at 2:24 p.m., approximately 12 minutes after that entryway was breached. He witnessed

from inside the Capitol, but did not participate in, the Rotunda Doors breach, and picked up a

nearby set of discarded plastic flex-cuffs, commonly used as hand restraints. He made his way to

the Senate Wing and assumed a leadership role. He told other rioters outside the Senate Gallery

not to destroy anything. Around the same time as Black, he entered the Senate Chamber, toting

the flex-cuffs. He loudly proclaimed, “This is our house,” admonished a fellow rioter not to sit

in the Vice President’s chair on the Senate dais, and lectured his fellow rioters in the Chamber that

they were waging an “I.O. war” and “information operation.” During his initial minute or so in

the Chamber, Black tagged along with Brock and aped his admonitions to others. As with other

rioters, including Black, Brock rummaged through papers on Senators’ desks. Brock spent about

eight minutes on the Senate Floor before leaving the Chamber. Shortly before exiting the Capitol

at 3:02 p.m., Brock broke up an altercation between a rioter and a police officer.

        Black’s and Brock’s conduct is similar in that they both breached the Senate Chamber—

one of the most sensitive spaces in the Capitol and the entire federal government—and admonished

others not to be disrespectful there. They also both discouraged violence against and harassment



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of officers during isolated incidents at areas outside the Chamber. Brock’s online rhetoric leading

up to January was much more violent and extreme—and more aggravating—than Black’s

statements at the Capitol and on social-media platforms. But several other factors are more

aggravating for Black. Black was the first rioter to breach the Lower West Terrace barricade at

12:57 p.m., an act of initiative that encouraged other rioters to overrun the entire Terrace and drew

them closer to breaching the Capitol itself. Black participated in the heave-ho maneuver and

violent breach at the Rotunda Doors; Brock was merely an onlooker to that incident. Black

accosted two USCP officers after they had been attacked in the Senate Gallery hallway by shouting

menacing language at them; Brock admonished rioters not to be destructive in that same hallway.

Black spent over 20 minutes in the Senate Chamber, participated in Jacob Chansley’s shameful

“prayer” at the Senate dais, and did not leave until MPD officers forced him out at 3:09 p.m.;

Brock spent only eight minutes in the Chamber and exited the Capitol by 3:02 p.m. Black

committed all his conduct while armed with a concealed dangerous weapon; Brock, while openly

carrying flex-cuffs he had picked up by the Rotunda Doors, was unarmed. All told, Black

deserves a more significant period of imprisonment than Brock.

       Second, in United States v. Kevin Seefried, 21-cr-00287 (TNM), Judge McFadden

sentenced the defendant to 36 months in prison. 14 Seefried and his son, Hunter, entered the


14
   Following a bench trial, Seefried was found guilty of five counts: (1) Obstruction of an Official
Proceeding and Aiding and Abetting (18 U.S.C. §§ 1512(c)(2) and 2); (2) Entering or Remaining
in any Restricted Building or Grounds (18 U.S.C. § 1752(a)(1)); (3) Disorderly and Disruptive
Conduct in a Restricted Building or Grounds (18 U.S.C. § 1752(a)(2)); (4) Disorderly and
Disruptive Conduct in a Restricted Building or Grounds (40 U.S.C. § 5104(e)(2)(D); and (5)
Parading, Demonstrating, or Picketing in a Capitol Building (40 U.S.C. § 5104(e)(2)(G)). At
sentencing, the court determined that the enhancements at U.S.S.G. § 2J1.2(b)(1)(B) (“offense
involved causing or threatening to cause physical injury to a person, or property damage, in order
to obstruct the administration of justice”) and U.S.S.G. §2J1.2(b)(2) (“offense resulted in
substantial interference with the administration of justice”) did not apply, yielding a sentencing
range of 15-21 months in prison. The court varied upwards in imposing a sentence of 36 months.

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restricted Capitol grounds and climbed over a wall near scaffolding and an external staircase of

the Capitol building.   After rioters breached a staircase barrier that officers tried to maintain,

Seefried and Hunter joined a mob attempting to breach the building near the Senate Wing Door.

Seefried watched as the rioters violently broke a window near the Door and Hunter cleared out the

remaining glass shards and jumped through the window. Seefried followed shortly thereafter,

carrying a Confederate battle flag, and within a minute of entering the Capitol, placed himself at

the front of the mob, where he jabbed at a lone African-American USCP officer with his

Confederate flagpole and chased that officer up a flight of stairs in the Senate Wing. Along with

other rioters, Seefried berated and harassed several USCP officers who had arrived to prevent the

mob from advancing farther in the Wing’s Ohio Clock Corridor. He stood resolute with the

rioters, who demanded to know the location of the Senators and Representatives who gathered for

the certification proceeding. He attempted to engage with one police officer on the scene, asking

him why he wanted to work for “liars and thieves.” During the 25 minutes that he remained inside

the Capitol, Seefried repeatedly ignored the officers’ orders to leave. On January 11, 2021,

Seefried voluntarily turned himself in to the FBI after seeing his picture in media reports. He

gave a voluntary interview with the FBI, and although he minimized his conduct, he admitted that

his unlawful entry of the Capitol was wrong.

       Seefried’s aggressive accosting of officers and carrying a historic symbol of racism and

secession was deplorable, and his prolonged confrontations with officers were more aggravating

than Black’s brief episode of shouting at the attacked officers who retreated down the East Gallery

Staircase. Black also exhibited decency toward officers in two instances, which Seefried did not.

Still, Black’s behavior is more aggravating in some other respects.   Black witnessed a prolonged

series of harrowing assaults on officers at the Rotunda Doors and still participated in the heave-ho



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and breach there. Black’s incursion inside the Capitol was more serious, as he breached and

remained in one of the most sensitive areas, the Senate Chamber, for over 20 minutes, poked at a

laptop, and rifled through a Senator’s papers. Black also remained on the West Plaza of the

Capitol grounds until nightfall, after hours of combat between police officers and violent, obstinate

rioters. Further, while Seefried admitted to the FBI that his conduct was wrong, Black has never

done so; indeed, to date, he has only expressed pride for his conduct. Black deserves a sentence

greater than 36 months.

       Third, in United States v. Jacob Chansley, 21-cr-00003 (RCL), following a guilty plea,

Judge Lamberth sentenced the defendant to 41 months in prison. 15 During the weeks leading up

to January 6, Chansley used his social-media presence to spread the type of false information and

hateful rhetoric that led thousands of rioters to descend on the Capitol on January 6. While at the

Capitol on January 6, he carried a bullhorn and an American flag tied to a pole with a spear tip.

On the West Plaza, he climbed a media tower erected for the upcoming Presidential inauguration.

He pushed past a police line and was among the first 30 rioters to enter the Capitol when he crossed

the threshold of the Senate Wing Door at 2:14 p.m., approximately one minute after rioters

smashed windows and forcibly breached there. He proceeded to the second floor of the Senate

Wing, where he was met by USCP officers who directed him and other rioters to exit the building.

Chansley riled up other rioters with his bullhorn and demanded that lawmakers be brought out.

He made his way to the Senate Gallery, where he bellowed a series of chants and obscenities—

including, “Time’s up, motherfuckers”—causing Black, who was on the Senate Floor, to yell up


15
   Chansley pleaded guilty to one count of Obstruction of an Official Proceeding (18 U.S.C.
§ 1512(c)(2)). Due to his acceptance of responsibility, the court applied a three-level reduction,
resulting in an adjusted offense level of 22 and a Guidelines sentencing range of 41-51 months in
prison. Without the three-level reduction, Chansley’s sentencing range would have been 57-71
months, the same range Black now faces.

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to him, “Quit acting a fool.” Eventually, Chansley carried his bullhorn and makeshift spear into

the Senate Chamber. He immediately proceeded to the dais and took the seat that Vice President

Pence had occupied less than an hour earlier. Like Black, he disregarded Officer Robishaw’s

requests to leave this “sacredest place.” Chansley wrote an ominous message that he left on the

Vice President’s desk—“ITS [sic] ONLY A MATTER OF TIME JUSTICE IS COMING!”—and

led others, including Black, in his spectacle “prayer” from the dais. Along with Black, Chansley

vacated the Chamber when the column of MPD officers arrived, and exited the building

approximately one hour after he had entered. During one of the interviews he gave to media

outlets after January 6, Chansley stated, “The fact that we had a bunch of our traitors in office

hunker down, put on their gas masks and retreat into their underground bunker, I consider that a

win.”

        Black and Chansley engaged in comparable conduct. Both were at the vanguard of critical

breaches that encouraged others to escalate their attack on the Capitol: Black was the first to breach

the Lower West Terrace barricade at 12:57 p.m., and Chansley was among the first to break into

the building at 2:14 p.m. Both expressed their disgust for lawmakers: among myriad other

statements about “crooked” and “dirt bag[]” politicians, Black claimed he told Officer Carrion he

and the rioters needed “to show these politicians that we mean business,” and Chansley faced off

with USCP officers in the Ohio Clock Corridor to demand that Congressmembers be brought out.

Both shouted ominous language to authorities in the Capitol’s Senate Wing, with Black targeting

retreating USCP officers at the East Gallery Staircase, and Chansley spewing his more generalized

threats and obscenities in the Ohio Clock Corridor, Senate Gallery, and Senate Chamber. Both

carried bladed weapons into the Capitol, though Black’s remained concealed. Chansley spent

about an hour inside the Capitol, as compared to about 30 minutes for Black, though Black spent



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about double the time in the Senate Chamber as Chansley did. Both used social media to publicize

their thoughts about how the Presidential election was fraudulent and to rail against the “crooked”

politicians, though Chansley’s online musings were more extensive and strident. In at least one

respect, Black’s conduct was more egregious because he witnessed up-close the attack on officers

at the Rotunda Doors and still participated in that violent breach. Regrettably, both became iconic

representatives of the Capitol Riot and are infamously linked by their conduct in the Senate

Chamber. Chansley led the “prayer”—a lawless bacchanal—inside the Chamber, which Black

readily joined. Notably, following that shameful display, Chansley exhorted other rioters to cheer

Black, whom Chansley admired as a “fucking champ.” Therefore, Black and Chansley are

suitable comparators, and Black warrants a sentence within the range that would have applied to

Chansley had he not received a reduction for accepting responsibility.

       Fourth, in United States v. Anthony Williams, 21-cr-00377 (BAH), Judge Howell sentenced

the defendant to 60 months in prison. 16 Leading up to January 6, Williams issued a series of

social-media posts expressing his anger about the election results and stating his intention to go to

the Capitol to stop the certification of the election results. At the Capitol, he joined a group of

rioters on the West Front and helped them climb bicycle racks to flank and overrun the police on

the northwest stairs. Williams recorded himself and bragged, “We just stormed the stairs of the



16
   Following a jury trial, Williams was found guilty of five counts: (1) Obstruction of an Official
Proceeding and Aiding and Abetting (18 U.S.C. § 1512(c)(2) and 2); (2) Entering or Remaining
in any Restricted Building or Grounds (18 U.S.C. § 1752(a)(1)); (3) Disorderly and Disruptive
Conduct in a Restricted Building or Grounds (18 U.S.C. § 1752(a)(2)); (4) Disorderly Conduct in
a Capitol Building (40 U.S.C. § 5104(e)(2)(D)); and (5) Parading, Demonstrating, or Picketing in
a Capitol Building in violation of 40 U.S.C. § 5104(e)(2)(G). At sentencing, the court determined
that the enhancements at U.S.S.G. § 2J1.2(b)(1)(B) (“offense involved causing or threatening to
cause physical injury to a person, or property damage, in order to obstruct the administration of
justice”) and U.S.S.G. §2J1.2(b)(2) (“offense resulted in substantial interference with the
administration of justice”) both applied, yielding a sentencing range of 57-71 months in prison.

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Capitol, pushed the cops back and were maced and pepper-sprayed, and hit everybody. Fuck that,

we took this fucking building.” He then stole water bottles USCP officers had stored on the Upper

West Terrace to decontaminate officers doused with chemical irritants. Williams entered the

Capitol through the Senate Wing Door only six minutes after its breach. Along with other rioters,

he overran police in the Crypt and advanced to the Rotunda, where he celebrated and smoked

marijuana. When the police tried to force him out of the Rotunda, he actively resisted and mocked

the police. After participating in the riot, he bragged on social media about his actions and

proclaimed that January 6 was the proudest day of his life.

       While Black and Williams were involved in different types of conduct at different sites at

the Capitol, they are suitable comparators. In different—but similarly aggravating—ways, they

resisted officers’ commands not to advance on the building and to leave the Capitol. Both took

aggressive action to overwhelm officers and gain entry into the building. Both were among initial

groups of intruders at critical points; Black was the first to breach the Lower West Terrace

barricade, and Williams was part of the first wave of breachers at the Senate Wing Door.

       While Black did not steal property from police officers or use a controlled substance in the

Capitol, his incursion into the Senate Chamber posed a greater security threat and he seized a

sensitive certification document from a Senator’s desk and attempted to get into a Senate staff’s

laptop. Though Williams engaged in more physical resistance to officers’ attempts to clear the

Rotunda, Black participated in the heave-ho and the harrowing breach at the Rotunda Doors, a

singularly aggravating factor. Both men expressed pride for their conduct and disdain for the rule

of law on social media, albeit Williams did so more crassly. Black’s circumstances are more

mitigating in that Williams had prior convictions for stale crimes, though he still had a criminal-

history category of I for Guidelines purposes, and Black was more cooperative with the FBI



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leading up to his arrest. At any rate, both men’s conduct warrants a 60-month sentence.

        Accordingly, a sentence of 60 months for Black would not create an unwarranted

disparity. 17


     VII.       RESTITUTION

        Under 18 U.S.C. § 3556, a sentencing court must determine whether and how to impose

restitution in a federal criminal case. Because a federal court possesses no “inherent authority to

order restitution,” United States v. Fair, 699 F.3d 508, 512 (D.C. Cir. 2012), it can impose

restitution only when authorized by statute, United States v. Papagno, 639 F.3d 1093, 1096 (D.C.

Cir. 2011).      Two general restitution statutes provide such authority.    First, the Victim and

Witness Protection Act of 1982 (“VWPA”), Pub. L. No. 97-291 § 3579, 96 Stat. 1248 (now

codified at 18 U.S.C. § 3663), “provides federal courts with discretionary authority to order

restitution to victims of most federal crimes.”       Papagno, 639 F.3d at 1096.        Second, the

Mandatory Victims Restitution Act (“MVRA”), Pub. L. No. 104-132 § 204, 110 Stat. 1214

(codified at 18 U.S.C. § 3663A), “requires restitution in certain federal cases involving a subset of

the crimes covered” in the VWPA. Papagno, 639 F.3d at 1096. The applicable procedures for

restitution orders issued and enforced under these two statutes is found in 18 U.S.C. § 3664. See

18 U.S.C. § 3556 (directing that sentencing court “shall” impose restitution under the MVRA,

“may” impose restitution under the VWPA, and “shall” use the procedures set out in § 3664).

        Both [t]he VWPA and MVRA require identification of a victim, defined in both statutes as

“a person directly and proximately harmed as a result of” the offense of conviction. Hughey v.


17
   A table providing additional information about the sentences imposed on other January 6
defendants is available at www.justice.gov/file/1567746/download. This continuously updated
table also shows that the requested sentence here would not result in unwarranted sentencing
disparities.

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United States, 495 U.S. 411, 418 (1990) (interpreting the VWPA). Both statutes identify similar

covered costs, including lost property and certain expenses of recovering from bodily injury. See

Papagno, 639 F.3d at 1097-97; 18 U.S.C. §§ 3663(b), 3663A(b). Finally, under both the statutes,

the government bears the burden by a preponderance of the evidence to establish the amount of

loss suffered by the victim. United States v. Bikundi, 926 F.3d 761, 791 (D.C. Cir. 2019).

       In deciding whether to impose restitution under the VWPA, the sentencing court must take

account of the victim’s losses, the defendant’s financial resources, and “such other factors as the

court deems appropriate.” United States v. Williams, 353 F. Supp. 3d 14, 23-24 (D.D.C. 2019)

(quoting 18 U.S.C. § 3663(a)(1)(B)(i)). By contrast, as noted above, the MVRA applies only to

certain offenses, such as a “crime of violence,” § 3663A(c)(1)(A), or “Title 18 property offenses

‘in which an identifiable victim [. . .] has suffered a physical injury or pecuniary loss,’” Fair, 699

F.3d at 512 (citation omitted), but it requires imposition of full restitution without respect to a

defendant’s ability to pay.

       Because this case involves the related criminal conduct of hundreds of defendants, the

Court has discretion to: (1) hold the defendants jointly and severally liable for the full amount of

restitution owed to the victim(s), see 18 U.S.C. § 3664(f)(1)(A) (requiring that, for restitution

imposed under § 3663, “the court shall order restitution to each victim in the full amount of each

victim’s losses as determined by the court and without consideration of the economic

circumstances of the defendant”); or (2) apportion restitution and hold the defendant and other

defendants responsible only for each defendant’s individual contribution to the victim’s total

losses, 18 U.S.C. § 3664(h). That latter approach is appropriate here.

       More specifically, the Court should require Black to pay $2,000 in restitution for his

convictions on Counts 2 through 6. This amount fairly reflects his role in the offense and the



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damages resulting from his conduct. Moreover, in cases where the parties have entered into a

guilty plea agreement, $2,000 has consistently been the agreed-upon amount of restitution and the

amount of restitution imposed by judges of this Court where the defendant was not directly and

personally involved in damaging property.        Accordingly, such a restitution order avoids

sentencing disparity.


   VIII. FINE

         Black’s felony convictions under Sections 1752 and 5104 subject him to a statutory

maximum fine of $250,000. See 18 U.S.C. § 3571(b)(3). In determining whether to impose a

fine, the sentencing court should consider the defendant’s income, earning capacity, and financial

resources. See 18 U.S.C. § 3572(a)(1); See U.S.S.G. § 5E1.2(d). Due to Black’s apparent receipt

of donations from the Lumberjack Logic podcast, the government requests that the Court impose

a fine equivalent to the amount he realized from those contributions, which appears to be at least

$807.


   IX.      CONCLUSION

         For the reasons set forth above, the government recommends that the Court sentence Black

to 60 months in prison, which is a low-range sentence within the Guidelines calculation that the

USPO and the government agree applies here, restitution of $2,000, a fine equivalent to the

contributions he received from his podcast appearance, and the mandatory $320 special assessment

for each count of conviction.



                                      Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 28, 2023, I served a copy of this pleading on all parties

to this matter as indicated in the Court’s electronic case files system.


                                              /s/ Seth Adam Meinero
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